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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             )
IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )
VENTILATOR PRODUCTS                          )       Master Docket: Misc. No. 21-1230
LITIGATION                                   )
                                             )
                                             )       MDL No. 3014
This Document Relates to: All Actions        )
                                             )
                                             )
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                                      )
IN RE: SOCLEAN, INC., MARKETING, )
SALES PRACTICES AND PRODUCTS )
LIABILITY LITIGATION                  )              Master Docket No. 22-mc-152
                                      )
                                      )
                                      )              MDL No. 3021
This Document Relates to: All Actions )
                                      )
                                      )
                                      )


                                     ORDER OF COURT


       AND NOW this 18th day of December, 2024, in accordance with the memorandum

opinion, it is hereby ORDERED that:

   (1) the amended third-party complaint in the Philips MDL (Misc. No. 21-1230, ECF No.

       2922) will be severed forthwith and the clerk of courts is instructed to place it in a new

       civil action, which will be marked as related to the Philips MDL;

   (2) The pending motion to strike/dismiss the third-party complaint filed by SoClean, as

       defined in the accompanying opinion (Misc. No. 21-1230, ECF Nos. 2995, 2997) is
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       granted in part, to the extent the third-party complaint is severed and shall proceed as a

       separate civil action. That motion to dismiss shall also be placed in the new civil action;

   (3) the new “class action complaint” filed in the SoClean MDL (Misc. No. 22-152, ECF No.

       659) is hereby DISMISSED without prejudice to Philips, as defined in the accompanying

       opinion, being able to refile the complaint in a new civil action in accordance with the

       case management deadlines set forth below:

       (a) If Philips chooses to refile its class action complaint in this court, it shall do so on or

           before January 7, 2025, at a new civil action;

       (b) SoClean shall file any motion to dismiss the refiled class action complaint on or

           before January 28, 2025;

       (c) Philips shall file its response to any motion to dismiss by February 11, 2025;

       (d) The court will be prepared to hear argument on the motions to dismiss in the new

           civil actions, if necessary, on or after February 18, 2025, at a date and time

           convenient to the court and counsel.



       SoClean’s motion to strike/dismiss the class action complaint (Misc. No. 22-152, ECF

No. 737) is DENIED without prejudice to reassert if Philips refiles the class action complaint in

a new civil action.




                                                       BY THE COURT:


                                                       /s/ Joy Flowers Conti
                                                       Joy Flowers Conti
                                                       Senior United States District Court Judge



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